                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    NANCY M. HENTSCHEL                 §
                                       §
                                       §
                                       §
          Plaintiff,
                                       §                CIVIL ACTION NO. ______________
                                                                         4:15 CV 2242
    v.                                 §
                                       §                         JURY
                                       §
                                       §
    WELLS FARGO HOME MORTGAGE §
    COMPANY,         ASSURANT/AMERICAN §
    SECURITY INS., INC., ALAN COLBERG §
    Defendants.                        §

        AMERICAN SECURITY INSURANCE COMPANY’S NOTICE OF REMOVAL

          1.      Defendant American Security Insurance Company (“American Security”) files

this Notice of Removal against Plaintiff Nancy Hentschel (“Plaintiff”) as follows:

                             I. COMMENCEMENT AND SERVICE

          2.      The underlying lawsuit was commenced on April 10, 2014, when Plaintiff filed

her Statement of Claim in the Justice Court of Precinct Four, Fort Bend County, Texas, styled

Case No. 14-JSC41-00137; Nancy M. Hentschel vs. Wells Fargo Home Mortgage Company et.

al. 1 American Security received service of the citation on July 21, 2015. 2

          3.      This Notice of Removal is filed within thirty days of the receipt of process of a

copy of the initial pleading, from which it was ascertained that the case is one which is

removable, and is timely filed under 28 U.S.C. § 1446(b). This Notice of Removal is also filed

within one year of the commencement of this action, and is thus timely pursuant to 28 U.S.C.

§ 1446(c).

1
    See Exhibit D, Docket Sheet.
2
    See Exhibit A, Executed Process.

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                                II. GROUNDS FOR REMOVAL

          4.    American Security is entitled to remove the state court action to this Court

pursuant to 28 U.S.C. §§ 1332, 1441 and 1446 because this action is a civil action involving an

amount in controversy exceeding $75,000.00 between parties with diverse citizenship.

                             III. DIVERSITY OF CITIZENSHIP

          5.    This is an action with complete diversity of citizenship between Plaintiff and the

Defendants.

          6.    Plaintiff is domiciled at 6610 Kendall Creek Dr., Sugar Land, Texas and is

therefore a citizen of the state of Texas within the meaning and intent of 28 U.S.C. § 1332. 3

          7.    Defendant American Security is a Delaware insurance company authorized to

transact business in Texas. American Security is organized under the laws of Delaware, and its

principal place of business is located in Atlanta, Georgia. American Security is therefore a

citizen of the states of Delaware and Georgia within the meaning and intent of 28 U.S.C. § 1332.

          8.    Defendant Assurant Inc., 4 is a Delaware corporation authorized to transact

business in Texas, whose shares are traded on the New York Stock Exchange under the symbol

AIZ, and whose principal place of business is in New York, New York. Assurant is therefore a

citizen of the states of Delaware and New York within the meaning and intent of 28 U.S.C. §

1332.

        9.      Alan Colberg is a citizen of New York within the meaning and intent of 28 U.S.C.

§ 1332.



3
  Ex. B-1, Pl.’s Statement of Claim
4
  Plaintiff improperly sued Assurant, Inc. for matters related to an insurance dispute. Assurant is not, and
has never been an insurance company. Assurant has never sold, underwritten, issued, or marketed
insurance policies in Texas or any other state. Additionally, Assurant does not collect, and never has
collected, premiums paid for insurance policies

                                                     2
        10.     No change of citizenship has occurred since commencement of the state court

action. Accordingly, diversity of citizenship exists among the proper parties.

                              IV. AMOUNT IN CONTROVERSY

        11.     In the Fifth Circuit, a defendant who is served with a pleading requesting an

indeterminate amount of damages has two options. The defendant may either remove the case

immediately if it can reasonably conclude that the amount in controversy exceeds $75,000.00, or

the defendant may wait until the plaintiff serves some “other paper” indicating that the amount in

controversy exceeds that amount. 5 If the defendant chooses to remove the case immediately,

then the federal court may determine the amount in controversy by: (i) looking to the defendant’s

removal papers or (ii) making an independent appraisal of the amount of the claim. 6 In this

Circuit, the amount in controversy is calculated by considering all potential damages. 7

        12.     If this Court makes an independent appraisal of the amount of Plaintiff’s claims in

this case or relies on American Security’s removal papers, the Court will conclude that the

amount in controversy exceeds $75,000.00. On July 21, 2015, Plaintiff served her Amended

Statement of claim stating that she was seeking to quiet title to the property located at 3211 Vista

Lake Drive, Sugarland, Texas 77478 (the “Property”). In an action seeking to quiet title to


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  See U.S.C. § 1446(b)(3); U.S.C. § 1446(c)(3)(A).
6
  Marcel v. Pool Co., 5 F.3d 81, 84–85 (5th Cir. 1993) (holding that remand was properly denied where it
was “facially apparent” from the complaint that damages could easily exceed the court's jurisdictional
limits).
7
  U.S. Fire Ins. Co. v. Villegas, 242 F.3d 279, 284 (5th Cir. 2001) (relying on all potential damages to
establish the threshold amount in controversy for diversity jurisdiction, including exemplary or punitive
damages); St. Paul Reinsurance Co., Ltd v. Greenerg, 134 F.3d 1250, 1253 (5th Cir. 1998) (“Thus, in
addition to policy limits and potential attorney's fees, items to be considered in ascertaining the amount in
controversy when the insurer could be liable for those sums under state law are inter alia penalties,
statutory damages, and punitive damages—just not interest or costs.”); St. Paul Reinsurance Co., Ltd. V.
Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998) (“Thus, in addition to policy limits and potential
attorney's fees, items to be considered in ascertaining the amount in controversy when the insurer could
be liable for those sums under state law are inter alia penalties, statutory damages, and punitive
damages—just not interest or costs.”).

                                                     3
property, the amount in controversy is equal to the value of the property. 8 Available facts,

through the Fort Bend County Appraisal district, show that the assessed value of the Property to

be $305,660. 9 As such, the amount in controversy for this action exceeds the jurisdictional limits

of this Court.

                                             V. VENUE

        13.      Venue lies in the Southern District of Texas, Houston Division, pursuant to 28

U.S.C. §§ 1441(a) and 1446(a) because Plaintiff filed the state court action in this judicial district

and division.

                                 VI. CONSENT TO REMOVAL

        14.      Defendants Wells Fargo Home Mortgage Company, Assurant, Inc. and Alan

Colberg consent to this removal. 10

                                           VII. NOTICE

        15.      Defendant will give notice of the filing of this notice of removal to all parties of

record pursuant to 28 U.S.C. § 1446(d). Defendant will also file with the clerk of the state court,

and will serve upon Plaintiff’s counsel, a notice of the filing of this Notice of Removal.

                             VIII. STATE COURT PLEADINGS

        16.      Copies of all state court pleadings and orders are attached to this Notice of

Removal.




8
   See Dillard Family Trust v. Chase Home Fin., LLC, Civil Action No. 3:11-CV-1740-L, 2011 WL
6747416, at *4 (N.D. Tex. Dec. 23, 2011); Waller v. Prof'l Ins. Corp., 296 F.2d 545, 547 (5th Cir. 1961)
(internal citations omitted) (“courts look to the value of the property involved rather than the damages that
might be suffered to determine the jurisdictional amount in suits for injunctions, in suits for specific
performance of a contract to convey realty, and in suits to remove a cloud from the title of realty.”).
9
  Exhibit H, Fort Bend County Appraisal District Property Detail.
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   See Exhibit I–K, Consents to Removal.

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                      IX. EXHIBITS TO NOTICE OF REMOVAL

       17.    Pursuant to Rule 81 of the Local Civil Rules for the Southern District of Texas,

the following documents are attached to this Notice as corresponding numbered exhibits:

                  A. All executed process in the case;

                  B. Pleadings asserting causes of action, e.g., petitions, counterclaims, cross
                     actions, third-party actions, interventions and all answers to such
                     pleadings;

                         1. Plaintiff’s Statement of Claim;

                         2. Wells Fargo’s Intent to Defend;

                  C. All orders signed by the state judge;

                  D. Docket sheet;

                  E. An index of matters being filed;

                  F. A list of all counsel of record, including addresses, telephone numbers and
                     parties represented;

                  G. Civil Cover Sheet;

                  H. Fort Bend County Appraisal District Property Detail;

                  I. Wells Fargo Home Mortgage Company Consent to Removal.

                  J. Assurant Inc.’s Consent to Removal

                  K. Alan Colberg Consent to Removal

                                     X. CONCLUSION

       WHEREFORE, Defendant, pursuant to the statutes cited herein and in conformity with

the requirements set forth in 28 U.S.C. § 1446, removes this action from the Justice Court of

Precinct Four, Fort Bend County, Texas to this Court.




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                                   EDISON, MCDOWELL & HETHERINGTON, LLP

                                   By:/s/ David T. McDowell
                                          David T. McDowell
                                          State Bar No. 00791222
                                          Federal ID No. 18464
                                      Phoenix Tower
                                      3200 Southwest Freeway
                                      Suite 2920
                                      Houston, Texas 77027
                                      Telephone: (713) 337-5580
                                      Facsimile: (713) 337-8850

                                       Attorney-in-Charge for Defendants American
                                       Security Insurance Company, Assurant Inc., and
                                       Alan Colberg.

Of Counsel:

Bradley J. Aiken
State Bar No. 24059361
Federal Bar No. 975212
Justin M. Kornegay
State Bar No. 24077668
Federal Bar No. 1717328
EDISON, MCDOWELL & HETHERINGTON, LLP
Phoenix Tower
3200 Southwest Freeway
Suite 2100
Houston, Texas 77027
Telephone: (713) 337-5586
Facsimile: (713) 337-8850




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                               CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing has been served on August 4, 2015,
on the following counsel of record by certified mail, return receipt requested:
Nancy Hentschel
6610 Kendall Creek Dr.
Sugar Land, TX 77479

Maria S. Rodarte
Suzanne R. Haley
Wells Fargo Home Mortgage
333 S. Grand Ave., Suite 800
Los Angeles, CA 90071

                                               /s/ Bradley J. Aiken
                                                   Bradley J. Aiken




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